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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

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                                                        *
UNITED STATES OF AMERICA                                *
                                                        *
                                                        *
v.                                                      *      Criminal Case No. RWT-04-0235
                                                        *
                                                        *
LAVON DOBIE                                             *
                                                        *
                                                        *
                                                        *

                                                    ORDER

        On December 23, 2014 this Court entered an order [ECF No. 1732] denying Lavon

Dobie’s Motion to Request a Modification to Sentence [ECF No. 1676]. However, a review of

the docket entries indicates Ms. Dobie still has two motions pending:

                Motion for Return of Property [ECF No. 1678];

                Motion for Appointment of Counsel and for a Copy of the Government’s

                 Response to Defendant’s Pending Motions [ECF No. 1689].

        Each of these motions is now moot. As to the Motion for Return of Property, the

Government indicated on June 20, 2014 that it had located the property and sent a letter to

Ms. Dobie informing her how she could retrieve it [ECF No. 1688]. As to the Motion for

Appointment of Counsel and for a Copy of the Government’s Response to Defendant’s Pending

Motions, the Court has already considered and denied the motion for modification; appointment

of counsel at this stage would be futile.1 As to the request to provide copies of the Government’s

1
 Moreover, as explained in the Court’s order dated December 23, 2014, there are no legal grounds supporting
Defendant’s request to modify her sentence. Thus, even if the motion for modification were still pending, the Court
would not appoint counsel to present this groundless request.
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opposition to her motions, the Government certified in its response that a copy was served on

Ms. Dobie via first-class mail.2 ECF No. 1687 at 6.

        Accordingly, it is, this 15th day of January, 2015, by the United States District Court for

the District of Maryland,

        ORDERED, that Defendant Lavon Dobie’s Motion for Return of Property

[ECF No. 1678] is DENIED AS MOOT; and it is further

        ORDERED, that Defendant Lavon Dobie’s Motion for Appointment of Counsel and for

a Copy of the Government’s Response to Defendant’s Pending Motions [ECF No. 1689] is

DENIED AS MOOT; and it is further

        ORDERED, that the Clerk shall mail a copy of this Order to Defendant.



                                                                            /s/
                                                                        ROGER W. TITUS
                                                                 UNITED STATES DISTRICT JUDGE
2
  Ms. Dobie filed her request on the same day the Government filed its response, which explains why she had not yet
received a copy.




                                                        2
